^     Fill in this information to identify the case:


       United States Bankruptcy Court for the:


                                    District of ARIZONA "^ D /'
                                    ^ ^ -^ n - u!.
       Case number         i);*a_                       ^ H Chapter _LL                                                               Q Check if this is an
                                                                                                                                          amended filing




     Official Form 201
    Voluntary Petition for Non-lndividuals Filing for Bankruptcy 00/22
     If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
     number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-lndividuals, is available.




      i. Debtor's name                              TCS SOLUTIONS, LLC




                                                    TOTAL CORPORATE SERVICES, LLC
      2. All other names debtor used
                                                    TOTAL CORPORATE SERVICES & SOLUTIONS
         in the last 8 years
          Include any assumed names,
          trade names, and doing business
          as names




      3. Debtor's federal Employer               8       3_20          43663
         Identification Number (EiN)



     4. Debtor's address                         Principal place of business                                Mailing address, if different from principal place
                                                                                                            of business

                                                  3230 E ROESER RD                                            SAME
                                                 Number Street                                              Number      Street


                                                  STE15
                                                                                                            P.O. Box


                                                  PHOEN IX, AZ 85040
                                                 City                          State      ZIP Code          City                        State          ZIP Code


                                                                                                            Location of principal assets, if different from
                                                                                                            principal place of business
                                                 MARICOPA
                                                 County
                                                                                                             SAME
                                                                                                            Number      Street




                                                                                                            City                        State          ZIP Code




     5. Debtor's website(URL)                     WWW.TOTALAZ. COIV1




    Offreiaf Form 201                               Votuntap/ Petition for Non-lndividuals Filing for Bankruptcy                                page

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Q ^ TCS SOLUTIONS, LLC                                                                     Case number (if known)




                                       S3 Corporation (including Limited Liability Company (LLC) and Limited Uabiiity Partnership (LLP))
                                       U Partnership (excluding LLP)
                                       a Other. Specify:,


                                       A. Check one:
7. Describe debtor's business
                                       a Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       Q Single Asset Rea! Estate (as defined in 11 U.S.C. § 101 (51 B))
                                       a Railroad (as defined in 11 U.S.C. § 101(44))
                                       a Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       Q Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       a Ciearing Bank (as defined in 11 U.S.C. § 781 (3))
                                       ^ None of the above



                                       B, Check alt that apply:

                                       Q Tax-exempt entity (as described in 26 U.S.C. § 501)
                                       (-I investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                          § 80a-3)
                                       Q Investment advisor (as defined in 15 U.S.C.§80b-2(a)(11))


                                       C. NAiCS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           httD://wv^A/.uscourts.aov/four-diQit-nationa!-association-naics-CQdes .

                                          -2..._ 3 8 3




                                       Check one:
   Bankruptcy Code is the
                                       Q Chapter 7
   debtor filing?
                                       L] Chapter 9
                                       SS Chapter 11. Check all that apply.
   A debtor who is a "smali business
   debtor" must check the first sub-                        The debtor is a small business debtor as defined in 11 U.S.C. § 1 01 (51 D), and its
   box. A debtor as defined in                              aggregate non contingent liquidated debts (excluding debts owed to insiders or
   § 1182(1) who elects to proceed                          affiliates) are iess than $3,024,725. if this sub-box is selected, attach the most
   under subchapter V of chapter 11                         recent balance sheet, statement of operations, cash-flow statement, and federal
   (whether or not the debtor is a                          income tax return or if any of these documents do not exist, follow the procedure in
   "small business debtor") must                            11 U.S.C.§1116(1XB).
   check the second sub-box.                           a The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                          less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                          Chapter 11. If this sub-box is selected, attach the most recent baiance sheet,
                                                          statement of operations, cash-flow statement, and federal income tax return, or if
                                                          any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                            §H16(1)(B).
                                                       Q A plan is being filed with this petition.

                                                       Q Acceptances of the plan were solicited prepetition from one or more classes of
                                                          creditors, in accordance with 11 U.S.C. § 1126(b).

                                                       Q The debtor is required to file periodic reports (for example, 10K and 1 OQ) with the
                                                          Securities and Exchange Commission according to § 13 or 15(ct) of the Securities
                                                          Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.

                                          Chapter 12




Official Porm 201                         Voluntary Petition         .-individuais Filing for Bankruptcy


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Debtor         TCS SOLUTIONS, LLC                                                          Case number OTknown)
              Name



 9. Were prior bankruptcy cases        SSNo
    fiied by or against the debtor
                                       a Yes.     District                           When ..._ Case number
                                                                                            MM/ DD/YYYY
     If more than 2 cases, attach a
     separate list                                District                           When .._.,_ Case number
                                                                                            MM/ DD/YYYY

 10. Are any bankruptcy cases          ^ No
     pending or being filed by a
     business partner or an            a Yes.     Debtor                                                          Relationship
    affiliate of the debtor?                     District                                                         When
                                                                                                                                  MM / DD /YYYY
     List a!! cases. If more than 1,
     attach a separate list.                     Case number, if known



 11. Why is the case filed in ih'ss Check all that apply:

                                       §0 Debtor has had its domicile, principa! p!ace of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                       Q A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.



12. Does the debtor own or have           No
    possession of any reai ^ ^ ^ Q ygg^ Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                        Why does the property need immediate attention? (Check at! that apply,)
    attention?
                                                [-] It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

                                                    What is the hazard?

                                                Q ft needs to be physically secured or protected from the weather.

                                                Q it includes perishabie goods or assets that could quickly deteriorate or fose vaiue without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-rejated
                                                    assets or other options).

                                                a Other.




                                                Where is the property";
                                                                            Number        Street




                                                                            City                                                 State ZIP Code


                                                is the property insured?


                                                    Yes. insurance agency


                                                             Contact name


                                                             Phone




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Debtor         TCS SOLUTIONS, LLC                                                               Case number (irnnown^




 13. Debtor's estimation of               Check one:
     available funds                      13 Funds will be available for distribution to unsecured creditors.
                                          Q After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.



                                          Sl 1-49                            Q 1,000-5,000                               1-125,001-50,000
 14. Estimated number of
                                          i-1 50-99                          1-1 5,001-10,000                            Q 50,001-100,000
    creditors
                                          Q 100-199                          Q 10,001-25,000                             Q More than 100,000
                                          LI 200-999


                                          Q $0-$50,000                      Q $1,000,001-$10 million                     Q $500,000,001-$1 billion
 15. Estimated assets                     21 $50,001-$100,000               Q $10,000,001-$50 million                    Q $1,000,000,001-$10 billion
                                          a $100,001-$500,000               Q $50,000,001-$100 million                   Q $10,000,000,001-$50 billion
                                          Q $500,001-$1 mjllion             Q $100,000,001-$500 million                  CJ More than $50 billion


                                         a $0-$50,000                       Q $1,000,001-$10 million                     1-1 $500,000,001-$1 billion
 is. Estimated liabilities
                                         a $50,001-$100,000                 1-1 $10,000,001-$50 million                  1-1 $1.000,000,001-$10 billion
                                         23 $100,001-$500,000               Q $50,000,001-$100 million                   1-1 $10,000,000,001-$50 billion
                                         Lt $500,001-$1 million             -J $100,000,001"$500mi!iion                  Q More than $50 billion



            Request for Relief, Declaration, and Signatures



WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,1519, and 3571.



17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                             petition.
   debtor

                                             I have been authorized to file this petition on behalf of the debtor.


                                             i have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.



                                          declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on . 0.3/21/2023_
                                                           }M LQD /YYYY

                                                                                                           ROBERT RODRIGUEZ
                                            Signature ofautl^prized'hppresentative of debtor              Printed name


                                            Title PRINCIPAL




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Debtor TCS SOLUTIONS, LLC                                                    Case number (iffcro™))_




 18.
                                                                                         Date
                              Signature of attorney for debtor                                         MM / DD / YYYY




                             Printed name


                             Firm name


                             Number Street


                             City                                                            State ZIP Code



                             Contact phone                                                   Email address




                             Bar number                                                      State




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